                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                 No.5:19-cv-00475-BO

JASON WILLIAMS,                                  )
                                                 )
                 Plaintiff,                      )
                                                 )
        v.                                       )   NOTICE OF SPECIAL APPEARANCE
                                                 )
AT&T MOBILITY, LLC,                              )
                                                 )
                 Defendants                      )


       Please take notice that the undersigned William L. Geraci hereby enters a notice of special

appearance as counsel for Plaintiff Jason Williams in the above-captioned matter, in association

with Local Civil Rule 83.1(d) counsel, Terence S. Reynolds, of Shumaker, Loop & Kendrick LLP.

       I certify that I will submit any document to Local Civil Rule 83.1(d) counsel for review

prior to filing the document with the court.



                                                 /s/ William L. Geraci
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                             Local Civil Rule 83.1(d) Counsel for Plaintiff
                             Jason Williams




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, April 1, 2020, I caused the foregoing document to be

filed and served on all counsel of record by operation of the CM/ECF system for the United

States District Court for the Eastern District of North Carolina.



Dated: April 1, 2020

                                                  /s/ Terence S. Reynolds
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